                                            Case 3:20-cv-09253-JD Document 25 Filed 12/23/20 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IMMIGRATION EQUALITY, et al.,                   Case No. 20-cv-09258-JSW
                                                        Plaintiffs,
                                   8
                                                                                           SUA SPONTE JUDICIAL REFERRAL
                                                 v.                                        FOR PURPOSES OF DETERMINING
                                   9
                                                                                           RELATIONSHIP OF CASES
                                  10       U.S. DEPARTMENT OF HOMELAND
                                           SECURITY, et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Pursuant to Civil Local Rule 3-12(c), the Court HEREBY REFERS this matter to Judge

                                  14   James Donato to determine whether this case is related to Pangea Legal Services, et al. v. U.S.

                                  15   Department of Homeland Security, et al., Case No. 20-cv-09253-JD (N.D. Cal. Dec. 21, 2020).1

                                  16

                                  17           IT IS SO ORDERED.

                                  18   Dated: December 23, 2020

                                  19                                                   ______________________________________
                                                                                       JEFFREY S. WHITE
                                  20                                                   United States District Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                       1
                                  28          The briefing schedule in place for Plaintiffs’ motion for a temporary restraining order
                                       remains in place pending a determination on the relation of these cases.
